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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

UNITED STATES OF AMERICA

        -v-                                                    No. 13-CR-271-LTS

ALSHAQUEN NERO,

                 Defendant.

-------------------------------------------------------x

                                                     ORDER

                 The Court has received Defendant Alshaquen Nero’s pro se letter-reply, filed on

October 14, 2020, in support of his motion for compassionate release pursuant to 18 U.S.C. §

3582(c)(1)(A). (See Docket Entry Nos. 964, 969.) In his letter-reply, Mr. Nero asserts a new

basis for his request for compassionate release: his facility’s alleged failure to provide him

adequate medical care for a stomach illness which has recently resulted in his hospitalization.

                 The Government is directed to file any sur-reply to Mr. Nero’s letter-reply, which

should include any recent BOP medical records concerning Mr. Nero’s stomach illness and any

follow-up procedures performed, by October 27, 2020. A complete, unredacted courtesy copy

of the Government’s sur-reply must be provided to Mr. Nero and emailed to Chambers via

SwainNYSDCorresp@nysd.uscourts.gov.

                 As Mr. Nero’s letter-reply attaches sensitive medical records, the Court will file a

redacted version of the letter-reply publicly on the docket, and file the original, unredacted letter-

reply under seal. An unredacted copy of the letter-reply will be provided to the Government.

The Government may file under seal any medical records that are included in its sur-reply, and

sensitive medical information may be redacted from the sur-reply that is filed on ECF. The



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unredacted originals must be filed with the Clerk’s Office with a copy of this Order. Chambers

will mail a copy of this order to Mr. Nero.

       SO ORDERED.

Dated: New York, New York
       October 16, 2020

                                                            _/s/ Laura Taylor Swain
                                                            LAURA TAYLOR SWAIN
                                                            United States District Judge


Copy mailed to:
Alshaquen Nero
Reg. No. 05861-748
USP Canaan
U.S. Penitentiary
P.O. Box 30
Pinellas Park, FL 33781

And:
Alshaquen Nero
Reg. No. 05861-748
USP Canaan
U.S. Penitentiary
Satellite Camp
P.O. Box 200
Waymart, PA 18472




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